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7 U'NITED STATES DISTRICT COURT
8 CENTRAL DISTRICT OF CALIFOR_NIA
10 JESUS coRoNADo, case No. cv 08-1082 JSL (cT)

ll Petitioner,

J U D G M E N T
12 V.

13 A. HEDGPETH, Warden,

 

14 Respondent.
15
16 In accordance with the Report and Recommendation of the United

17 States Magistrate Judge filed concurrently herewith,
18 IT IS HEREBY ADJUDGED that the petition for writ of habeas

19 corpus is denied and this action is d` issed with prejudice.

:: DATED= 5//5/08 W Q£%

J. SPENCER LETTS
22 UNITED STATES DISTRICT JUDGE

 

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